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UNITED STATES DISTRICT COURF— RECEIVED = __COPY
DISTRICT OF ARIZONA FEB 0.1 2018 }
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DISTRIGT GF ARMZONA a
HARRY D. DALTON BY DEF
2085 Mesquite Ave #14 CASE NUMBER
Lake Havasu City, AZ 86403 CV-18-08013-PCT-MHB
-VS-

Arizona Living Rental & Property Management-EL, All
Keller William &L, All

1900 McCulloch Blvd, Lake Havasu City, AZ 86403

- Karen Bohler

Vicki Runyon operating Principal

86 Smoketree #101, Lake Havasu City, AZ 86403
DEFENDANTS

COMPLAINT DISABILITY DISCRIMINATION
FAIR HOUSING ACT 42.U.S CODE
SS-3601-3619-3631

On 01-19-18 |, Harry Dalton went to the office of Arizona Living Rental & Property
Management to talk with Karen Bohler about trying to be helpful on the showing
of the condo for sale, which | currently lease until April 31, 2018 to make it easier
on the agent and myself. | asked the agent to text myself, Harry Dalton when she is
requesting to show the property and not have to meet the agent at the office

every time she wanted to show the condo.

 
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it is very inconvenient for me to be able to do that. | requested to only have to
sign the showing notice one time and then she could text me with the day and
time she wanted to show the property. |, Harry Dalton asked Arizona Living Rental
& Property Management to ask the owner of the property if this would be okay.
After | asked this question, I, Harry Dalton was told that this was not possible by
Karen Bohler, that she would not call or email the owner of the condo. | told Ms.
Bohler that | have a disability, and | told the agent, Sarra Scheller, that | had 6 back
surgeries and had broken my neck at the C-1 and wake up with really bad
headaches. | also mentioned that | was going to be needing another surgery,
however, she didn’t care. | was told, in very clear words, that no one cared about
my disability, that Ms. Bohler works for the owner not for Harry Dalton, that she
could throw me out at any time disability or not. | got up and left the office and
went to Arizona Living Rental & Property Management at Keller Williams and
spoke with Vicki Runyon, owner of Arizona Living Rental & Property Management
and tried to talk with Ms. Runyon on how we could help each other in the sale of
the condo and how rude | was treated by the office of Arizona Living Rental &
Property Management. Ms. Runyon, as well, was very rude and stated she would

not email the owner of the condo, that my disability meant nothing to her as well.

 
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Within 48 hours of the time and date, |, Harry Dalton received a notice of non-
renewal from Arizona Living Rental & Property Management. I, Harry Dalton did
my best to be helpful in showing of the property. Please look at an email sent to
the agent on 1-22-18, past showings, the agent never showed up or called, yet |
was still helpful even to the point of sending pictures of the inside of the condo to
the agent. |, Harry Dalton told Arizona Living Rental & Property Management that
| was a disabled person, | feel this is the reason | received a non-renewal notice,
sent by Ms. Bohler, she said that my disability was just an excuse. | have leased

this condo for 4 years and have been a very good renter.
Harry Delbert Dalton

2085 Mesquite Ave #14

Lake Havasu City, AZ 86403

Relief/Settlement of Claim amount $500,000.00

 
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Damages-Mental Anguish and Suffering

The Defendant intentionally, within 48 hours sent a non-renewal notice of lease to
Harry Dalton with 90 days plus left on the lease; to intentionally inflict harm and
pain to the Plaintiff Harry Dalton due to my disability. | told both Defendants that
|, Harry Dalton suffered from awful headaches due to past lateral fracture of C-1
as this was an intentional action of hate and power from the Defendants and how

they both wanted to show Harry Dalton that his disability meant nothing to them.

|, Harry Dalton would like to say if a person has not experienced nerve pain in the
spinal cord, head or back that it is a horrible pain. |, Harry Dalton have shown that
| acted in good faith to try to help the sale of the condo. It was the Defendants
that did not act as a reasonable person and yet the Defendants wanted to inflict
as much pain and distress as they could. To state that a disability of a person

meant nothing is heartless.

Thank you,
Harry Dalton Wade Jk 8

2085 Mesquite Ave #14

 

Lake Havasu City, AZ 86403

Please see exhibits: |— 0 F-¢

 

 
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DEFENDANT

Vicki Runyon-Keller Williams
Arizona Living

1990 McCulloch Bivd
Lake Havasu City, AZ 86406
978-680-8161

Arizona Living Rental & Property Management.

DEFENDANT

Karen Bohler

Arizona Living Rental & Property Management
86 E. Smoketree Ave #101

Lake Havasu City, AZ 86403

928-953-3500

PLAINTIFF

Harry D. Dalton

2085 Mesquite Ave #14
Lake Havasu City, AZ 86403

928-706-5269

 
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Avizona Living Rentals & Prop Mgmt.

NOTICE OF NONRENEWAL OF LEASE AGREEMENT Pmauguat 2013

The pre-printed portion of this form has been drafted by the Arizona Association of REALTORS®.
ARIZONA Any change in the pre-printed language of this form must be made in a prominent manner.
REALTOR® Ser any analy

 

divacixsion o} No. representations are made as to the legal validity, adequacy and/or effects of any provision,
REALTORS’ | Including tax consequences thereat. if you desire legal, tax of other professional advice, please
REAL SOLUTIONS. REALTOR® SUCCESS consult your attorney, tax advisor or professional consultant.

 

 

 

 

 

To: Harry D Dalton and All Occupants

Premises: 2085 Mesquite Ava #B14 Lake Havasu City AZ 86403

NONRENEWAL OF LEASE
The term of your present Lease Agreement is due to expire and will not be renewed,

You must vacate the Premises no later than 03/31/2018 at 4:00 [J a.m/[X] p.m.
MO/DAYR

[ ] NONRENEWAL OF MONTH-TO-MONTH TENANCY
Pursuant to A.R.S §33-1375(B), you are hereby notified that the Landlord has elected to terminate your month-to-month

tenancy. Your tenancy will terminate on at {_]am/{_] p.m., which is at least 30 days
MOIDAYR
after your next rental due date.

Ail rent must be paid through the end of your Lease Agreement and your security deposit(s) may not be used for your last month’s

rent. Your security deposit(s) will be applied towards any damages beyond normal wear and tear. Please notify the Landlord/Property
Manager of your forwarding address so that your refundable security deposit(s), minus any deductions, may be mailed to you. In most
circumstances, pursuant to A.R.S. §33-1321(G), you may require that the landlord notify you of when the move out inspection will occur.

If you remain in possession beyond the date set forth above, your conduct will ba deemed willful and you will be considered a
“holdover tenant* at which point the landlord may bring an action for possession and may recover damages in an amount equal to not
more than two month's periodic rent or twice the actual damages sustained by the landlord, whichever is greater. A.R.S. §33-1375(C).

17. Landlord/Property Manager

\_7* LANDLORD/PROPERTY MANAGERT AUTHORIZED REPRESENTATIVE’S SIGNATURE

19.

20.

21.

22,
23.
24.

25.
26.

Arizona Living Rentals & Prop Memt, 86S. Smoketree Lake Havasu City AZ 86403
Phone: (928) 453-3500 Fax: (928) 453-4644 Arizona Living Rentals & Prop Memt

 

 

 

 

 

 

 

Any licensed agent at Arizona Living Rentals & Property Mgmt
LANDLORD/PROPERTY MANAGER/AUTHORIZED REPRESENTATIVE'S PRINTED NAME
86 8. Smoketree #101 Lake Havasu City AZ 86403
ADDRESS CITY STATE ZIP CODE
(928) 453-3500 azlivingteam@gmail.com
TELEPHONE EMAIL
Notice Delivered this day of ;
Certified or Registered mail
Receipt Number: POLE 3560 OO00 3304 441

 

Hand Delivered
Acknowledgement of Hand Delivery by Tenant:

Pursuant to A.R.S, §39-131 3, receipt of notice occurs when the notice is actually received, delivered in hand tothe tenant, or mailed by registered or certified
mail ta the tenant at the place held out by the tenant as the place for receipt of the communication or, in the absence of such designation, to the tenant's last
known place of residence. lf notice is mailed by registered or certified mail, the tenant is deemed to have received such notice on the date the notice is actually
received by tenant or five days after the date the notice Is mailed, whichever occurs first.

Notice of Nonrenewal of Lease Agreement * August 2013
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and enter.the barcode number:
shown below. Oy

o Receptacle full/item oversized
» LINo secure location available

_ BONO authorized r recipient available ;
(Signature required Adult Signature items-must be 21 + years old)

    

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Subject: Re: Signing completed: 2 Day Notice To Show Property.

From:

  

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To: -  garrarose.schneller@gmail.com;

  

Date: Monday,

Sarra, its like | told you | can,t sign on line or with my phone. | left you a mess on sunday on your voice mail that | had droped
my phone | went out of my way to call you it 6pm 1224-18. | will sign the Doc,s shown the house on 1-
25-18 from 10.30am to 1.30pm an you get with the owners ok so that we can do. ing by text. [have tried to

work with you and every one but this has made it hard on me. | don,t no what more | can do to help you. the last time you
wanted to shown the house you never showned or called then last week you had something to do and again could not make it
like you said. | understand that things come up this is why if we can text it will make | n-every one! want to help you but |
do not want the undue stress. | will have a new phone by 1-28-18 anyway so ! take i going to be at the house @ 6.pm
today to have me sign paper work the show the house in the morning as you said? Sarra please understand | have no way to .....
get back with you intill | get’ new phone on the 28th’as'l have said in this e-mail |,m at the Library now to help you. Its hard to.”

      

    

 

   

    

“reply to this site Harry.
On Sunday, January 21, 2018 4:30 PM, Sarra Schneller <noreply@esignonline.net> wrote:
Yor peat TO Shar oFFICe 64 impule/ 12218 #4! ] fOr
Quechee d— NO Nibcute7 Jo Sey -
} SO SHow KO OC. oO fu 0 Me ‘ mouke/ get MERE TM Gy

72 Sj Gu

    

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Congratulations! All parties have signed the session:
2 Day Notice To Show Property

 

All parties to the signing session have been emailed copies.

You can download a copy of the signed document(s) for your records.

Download Documents.

To contact the sender, please email: sarrarcse.schneller@gmail.com

To receive technical assistance with the signing session, please email: support@aaronline.com
Need signatures quick? Getting signatures is only seconds away! Save time, save paper, get
eSignOnline today. Click here to register for a free account.

Powered by GoPaperless Solutions

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